                                      UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF TENNESSEE
                                             AT KNOXVILLE

     BREY C. RASCO, et al.,                               )
                                                          )
                       Plaintiffs,                        )
                                                          )
     v.                                                   )          No.: 3:22-CV-149-KAC-JEM
                                                          )
     BTI TOOLS, LLC, et al.,                              )
                                                          )
                       Defendants.                        )


                              MEMORANDUM OPINION AND ORDER
                           DENYING MOTION FOR SUMMARY JUDGMENT

               This Tennessee products liability action is before the Court on a “Motion for Summary

 Judgment” [Doc. 48] filed by Defendants BTI Tools, LLC; AOB Products Company, d/b/a

 Battenfield Technologies, Inc.; and American Outdoor Brands, Inc. Because genuine disputes of

 material fact exist, the Court denies the Motion.

          I.      Background1

               It appears that Defendants manufacture the SCAXE10 hatchet and distribute it to stores for

 resale [See Doc. 55-4 at 3-4 (Deposition of Brent Vulgamott (“Vulgamott Dep.”) 14:7-27:9)].

 During the time relevant to this litigation, the hatchet arrived for resale in sealed clamshell

 packaging, a plastic mold that is difficult to open [Doc. 55-1 at 2 (Deposition of Randy Lee

 Phares (“Phares Dep.”) 11:9-20)]. The hatchet contained no opening instructions, and the hatchet

 blade was uncovered within the clamshell packaging [Id. (Phares Dep. 11:12-14); see also id.

 at 52 (Expert Witness Report of Randy Phares “Phares Report”))].


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   The Court views the facts in the light most favorable to Plaintiffs Brey C. Rasco and Twyla
 Rasco, the nonmoving Parties, and makes all reasonable inferences that can be drawn from those
 facts in their favor. See Matsushita Elec. Indus., Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,
 587 (1986).


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        Plaintiff Brey C. Rasco (“Mr. Rasco”) purchased a SCAXE10 hatchet from a Rural King

 store in Knoxville, Tennessee before holding a cookout with friends [Doc. 55-3 at 6-7 (Deposition

 of Brey Rasco (“B. Rasco Dep.”)) 47:14-48:9)]. At some point before his guests arrived, Mr.

 Rasco “was on the porch opening” the hatchet [Id. at 8 (B. Rasco Dep. 58:6-13)]. Mr. Rasco

 “laid [the packaged hatchet] down on the table,” “took [his] knife out,” and “cut the edge” of the

 packaging, “trac[ing] the tang, up the side of the tang, . . . around to the front of the blade, around

 the top, and down the backside” [Id. at 8-10 (B. Rasco Dep. 58:18-60:2)]. While Mr. Rasco was

 cutting the hatchet out of the clamshell packaging, his cookout guests arrived and Mr. Rasco

 stopped cutting the packaging open [Id. at 8-9, 11 (B. Rasco Dep. 58:6-9, 58:21-59:1, 61:1-7)].

 Mr. Rasco did not “completely” cut the hatchet out of the clamshell packaging before he set the

 hatchet down and went inside with his guests [Id. at 10-11 (B. Rasco Dep. 60:3-61:7)].

        Sometime later, Mr. Rasco and his guests “decided to go out and start cutting firewood to

 start [a] fire” [Id. at 11 (B. Rasco Dep. 61:8-10)]. Mr. Rasco retrieved the packaged hatchet and

 began “pulling [the] hatchet out of the package” [Id. (B. Rasco Dep. 61:19-25)]. Then, the hatchet

 “hit [Mr. Rasco] in the arm” [Id. at 12 (B. Rasco Dep. 62:1-2)]. Mr. Rasco “immediately

 grabbed [his] arm and spun around to everybody” and said “‘call an ambulance. Call an ambulance

 now. I’m bleeding’” [Id. at 13 (B. Rasco Dep. 63:15-22)].

        Mr. Rasco sustained a deep wound, exposing his bone [Doc. 55-7 at 2 (Deposition of Jesse

 Frye (“Frye Dep.”) 21:5-6)]. Cookout guest “Jesse [Frye] applied pressure and made a torniquet

 out of his belt to try to stop the bleeding” [Doc. 55-3 at 14 (B. Rasco Dep. 65:11-15)]. Eventually,

 “a helicopter landed in [Mr. Rasco’s] field to take [him] to the ER” [Id.].

        Plaintiff’s expert witness testified that for items contained in sealed clamshell packaging,

 it is “generally accepted industry standard[]” that a company “design[s] the package so it can safely



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 hold the product for shipping, for display in the retail location, and for opening by the clients, or

 by the customer” [Doc. 55-1 at 10 (Phares Dep. 61:3-9)]. If the hatchet package “cannot be opened

 safely without specific processes,” it is generally accepted industry standard for a manufacturer to

 “put some type of labeling on [the package] to notify” “the consumer that there is a

 danger” [Id. (Phares Dep. 61:10-19)]. “[M]anufacturers” and “marketing groups” understand

 “generally accepted industry standards” that involve the need to provide instructions on how to

 open products when the packaging can be difficult for a consumer to open [See id. at 11 (Phares

 Dep. 62:6-22)]. Without opening instructions, “it’s foreseeable that consumers would attempt to

 open” a hatchet “in a variety of different ways” [Doc. 55-2 at 5 (Deposition of Steve Hall (“Hall

 Dep.”) 21:5-10)].

        Jesse Frye testified that he would expect some form of additional covering on the hatchet

 blade inside the sealed clamshell packaging [Doc. 55-7 at 3, 5-6 (Frye Dep. 25:10-16, 35:2-17,

 37:11-14)]. Indeed, “[e]very time [he’s] ever seen a blade being sold that is opened, it’s got a

 cover on it, a safety cover” and “[a]nytime you go and get a hatchet from Ace Hardware, [he’s]

 always seen wax on the blades” [Id. at 3-4 (Frye Dep. 25:10-26:9)]. Plaintiffs further proffered

 expert testimony suggesting that Defendants’ packaging fell below minimum consumer

 expectations for safety [See Doc. 55-1 at 15 (Phares Dep. 94:2-10)].

        Other manufacturers have placed protective coverings over similar hatchet blades,

 irrespective of whether the hatchet is sold in plastic packaging [See Doc. 55-4 at 6-18 (Vulgamott

 Dep. Exhibits)]. In fact, Defendants manufacture and package a hatchet, the “Hooyman,” with a

 protective blade covering [See id. at 6 (Vulgamott Dep. Exhibit)]. There is more known risk when

 removing “an unguarded blade edge” from a clamshell packaging than removing a hatchet with a

 covered blade [See Doc. 55-2 at 7 (Hall Dep. 29:10-13)]. “[C]overing the sharp part” of the hatchet



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 may “prevent some cuts” [Id. at 9-10 (Hall Dep. 48:19-49:2)]. Had Defendants placed “plastic or

 rubber” “on the [hatchet] blade,” “the incident . . . would have been less likely to have cut” Mr.

 Rasco [Doc. 55-1 at 13 (Phares Dep. 85:16-18)].

          On March 22, 2022, Mr. Rasco and his wife, Plaintiff Twyla Rasco, filed a complaint in

 the Circuit Court for Sevier County, Tennessee, asserting products liability claims against

 multiple Defendants [Doc. 1-2]. Defendant BTI Tools, LLC removed the action to this

 Court [See Docs. 1, 7, 8, 9]. Plaintiffs subsequently dismissed their claims against various

 Defendants [See Docs. 16, 44]. The remaining Defendants—BTI Tools, LLC; AOB Products

 Company, d/b/a Battenfield Technologies, Inc.; and American Outdoor Brands, Inc.— filed the

 instant Motion, asserting that they are entitled to judgment as a matter of law as to all

 claims [Doc. 48]. Plaintiffs responded [Doc. 55] and Defendants replied [Doc. 58].

    II.      Legal Standard

          Under Federal Rule of Civil Procedure 56, the Court “shall grant summary judgment if the

 movant shows that there is no genuine dispute as to any material fact and the movant is entitled to

 judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Court views the facts in the light most

 favorable to the nonmoving parties and make all reasonable inferences that can be drawn from

 those facts. See Matsushita, 475 U.S. at 587. The Court must “not weigh the evidence or make

 credibility determinations.” See Smith v. City of Toledo, 13 F.4th 508, 514 (6th Cir. 2021).

 A moving party bears the burden of demonstrating that no genuine dispute as to any material fact

 exists. See Bennett v. Hurley Med. Ctr., 86 F.4th 314, 323 (6th Cir. 2023) (citing Scott v. First S.

 Nat’l Bank, 936 F.3d 509, 516 (6th Cir. 2019)). “A genuine issue of material fact exists when

 there are disputes over facts that might affect the outcome of the suit under the governing law.”

 See Regions Bank v. Fletcher, 67 F.4th 797, 802 (6th Cir. 2023) (citation and quotation omitted).



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     III.      Analysis

            The Tennessee Products Liability Act, Tenn. Code Ann. § 29-28-101, et seq. (“TPLA”),

 “superseded common law claims for personal injuries stemming from alleged defects in

 products.” See Coffman v. Armstrong Int’l, Inc., 615 S.W.3d 888, 895 (Tenn. 2021). Under the

 TPLA, “establishing a prima facie products-liability claim requires” a plaintiff to show

 that: (1) “the product was defective and/or unreasonably dangerous,” (2) “the defect existed at the

 time the product left the manufacturer’s control, and” (3) “the plaintiff’s injury was proximately

 caused by the defective product.” See Sigler v. Am. Honda Motor Co., 532 F.3d 469, 483 (6th Cir.

 2008) (citation omitted). Defendants do not contest the second element.2

            As to the first element of the prima facie case, the “general rule in Tennessee is that the

 issue of whether a product is defective or unreasonably dangerous is one for the jury.”

 Id. at 484 (citing Jackson v. Gen. Motors Corp., 60 S.W.3d 800, 805 (Tenn. 2001)).

 Tennessee courts “favor[] a disjunctive interpretation of” the TPLA, so a plaintiff may make his

 case by establishing “either that the product was defective or unreasonably dangerous,” or both.

 See, e.g., Fulton v. Pfizer Hosp. Prods. Grp., Inc., 872 S.W.2d 908, 911 n.1 (Tenn. Ct. App. 1993).

            “[A] product is deemed defective when it is in a condition ‘that renders it unsafe for normal

 or anticipatable handling and consumption.’” See Strayhorn v. Wyeth Pharma, Inc., 737 F.3d 378,

 392 (6th Cir. 2013) (quoting Tenn. Code Ann. § 29-28-102(2)). Plaintiff must identify evidence

 of a “specific defect.” See Hill v. Kia Motors Am., Inc., Nos. 20-5690/5693, 2022 WL 557823,

 at *8 (6th Cir. Feb. 24, 2022) (citation omitted). In assessing whether a product was defective, the

 Court looks to “the state of scientific and technological knowledge available to the manufacturer




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   And no Defendant challenges whether it is a “manufacturer” within the text of the
 TPLA [See Docs. 48, 58]. See also Tenn. Code. Ann. 29-28-102(4) (defining “manufacturer”).
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 or seller at the time the product was placed on the market.” See Tenn. Code Ann. § 29-28-

 105(b). “Consideration is given also to the customary designs, methods, standards and techniques

 of manufacturing, inspecting and testing by other manufacturers or sellers of similar products.” Id.

 “[E]vidence of a technologically feasible and practical alternative design that likely would have

 reduced or prevented plaintiff’s harm,” is “highly relevant and probative” in assessing “whether a

 product was defective” under the TPLA. See Potter v. Ford Motor Co., 213 S.W.3d 264,

 269 (Tenn Ct. App. 2006) (citing Brown v. Crown Equip. Corp., 181 S.W.3d 268, 278 (Tenn.

 2005)). “[E]xpert testimony is not the only way to prove a claim that a consumer product” is

 defective under the TPLA. See Bradley v. Ameristep, Inc., 800 F.3d 205, 210 (6th Cir. 2015).

         Here, Plaintiffs identified three specific defects in the relevant hatchet packaging:

 that (1) the sealed clamshell packaging was difficult to open; (2) the hatchet had no protection on

 the blade while in the sealed clamshell packaging; and (3) the packaging contained no instructions

 on how to open it safely [See Doc. 55-1 at 2, 6, 10, 13]. And Plaintiffs provide evidence of

 “customary designs” “by other manufacturers or sellers of similar products” that cover the blade

 in and out of plastic packaging and do not use heat-sealed clamshell packaging [See id. at

 52 (“There were many packaging options that could have been utilized”); see also Doc. 55-4 at 6-

 18]. Plaintiffs identified further evidence of “technological knowledge available to” Defendants

 “at the time the product was placed on the market” that supports their claim that the hatchet, as

 packaged, was defective [See Doc. 55-4 at 6-18; see also Doc. 55-1 at 13 (Phares Dep. 85:16-

 18) (“If plastic or rubber had been put on the blade . . . the incident . . . would have been less likely

 to have cut [Plaintiff]”)]. See Tenn. Code Ann. § 29-28-105(b). Indeed, there is evidence that

 Defendants sell a hatchet with a covering on the blade [See Doc. 55-1 at 52 (Phares Report);

 see also Doc. 55-4 at 3, 6 (Vulgamott Dep. 17:1-7)].



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        Plaintiffs’ proffered evidence of these “technologically feasible and practical alternative

 design[s],” [see Doc. 55-4 at 6-18], is “highly relevant and probative” of whether the hatchet

 packaging at issue here was defective, see Potter, 213 S.W.3d at 269 (citation omitted). And this

 evidence raises a genuine dispute of material fact regarding whether Defendants’ hatchet

 packaging was defective. Indeed, the “general rule in Tennessee is that the issue of whether a

 product is defective” is “one for the jury.” See Sigler, 532 F.3d at 484; see also Jackson, 60 S.W.3d

 at 805-06. And that rule holds true here.

        Alternatively, to establish that a product is unreasonably dangerous, “Tennessee law

 provides two tests:” the (1) consumer expectation test and (2) prudent manufacturer test.

 Sigler, 532 F.3d at 483-84. But these two tests “are not mutually exclusive.” Strayhorn, 737 F.3d

 at 392. Here too, “evidence of a technologically feasible and practical alternative design that likely

 would have reduced or prevented plaintiff’s harm” is “highly relevant and probative” to

 determining whether a product is “unreasonably dangerous.” See Potter, 213 S.W.3d

 at 269 (citation omitted).

        The consumer expectation test “simply requires a showing that the product’s performance

 was below reasonable minimum safety expectations of the ordinary consumer having ordinary,

 ‘common’ knowledge as to its characteristics.” See Sigler, 532 F.3d at 483-84 (citing Jackson,

 60 S.W.3d at 806). A plaintiff must “produce evidence of the objective conditions of the product

 as to which the jury is to employ its own sense of whether the product meets ordinary expectations

 as to its safety under the circumstances.” See Bradley, 800 F.3d at 210-11.

        The prudent manufacturer test, by contrast, “requires proof about the reasonableness of the

 manufacturer or seller’s decision to market a product assuming knowledge of its dangerous

 condition.” See Strayhorn, 737 F.3d at 392 (citation omitted). “[E]xpert testimony about” prudent



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 manufacturing decisions is “essential.” See Sigler, 532 F.3d at 484 n.7. Applying the prudent

 manufacturer test “involves a risk-utility analysis.”         See Privette v. CSX Transp., Inc.,

 79 F. App’x 879, 889 (6th Cir. 2003) (citing Ray v. BIC Corp., 925 S.W.2d 527, 530 (Tenn.

 1996)). The Court assesses factors such as a product’s “usefulness and desirability,” “safety

 aspects,” “availability of a substitute product which would meet the same need,” a “manufacturer’s

 ability to eliminate the unsafe character, the user’s ability to avoid danger, the user’s awareness of

 the danger, and the feasibility of spreading the loss.” Id. (same).

        Plaintiffs have raised a genuine issue of material fact as to whether Defendants’ packaging

 fell “below reasonable minimum safety expectations of the ordinary consumer.” See Sigler,

 532 F.3d at 483-84 (citing Jackson, 60 S.W.3d at 806). Plaintiffs introduced testimony

 demonstrating that a triable issue of fact exists as to whether an ordinary consumer would expect

 some additional protective covering on a sealed clamshell packaged hatchet blade [Doc. 55-7 at 3,

 5-6 (Frye Dep. 25:10-16, 35:2-17, 37:11-14)]. Indeed, Frye testified that “[e]very time [he’s] ever

 seen a blade being sold that is opened, it’s got a cover on it, a safety cover” and that “[a]nytime

 you go and get a hatchet from Ace Hardware, [he’s] always seen wax on the blades” [Id. at 3-4

 (Frye Dep. 25:10-26:9)]. And Plaintiffs proffered expert testimony suggesting that Defendants’

 packaging fell below the minimum safety expectations of the ordinary consumer [See Doc. 55-1

 at 15 (Phares Dep. 94:2-10)].

        Under the prudent manufacturer test, the result is the same—Plaintiffs raise a triable issue

 of material fact as to whether a prudent manufacturer, assuming its knowledge of the hatchet’s

 dangerous condition, would package the hatchet in the way Defendants did. As an initial matter,

 Plaintiffs proffer admissible expert testimony that “manufacturers” and “marketing groups”

 understand “generally accepted industry standards” involving the need to provide instructions



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 regarding how to open products when the packaging could be difficult for a consumer to

 open [See id. at 11 (Phares Dep. 62:6-22)]. And as with demonstrating product defect, Plaintiffs

 evidence of alternative designs further demonstrates that a triable issue of fact exists as to whether

 the hatchet packaging is unreasonably dangerous. See Potter, 213 S.W.3d at 269 (citation

 omitted).

        Analyzing the factors under the prudent manufacturer test, it is unclear whether usefulness

 and desirability favor Plaintiffs or Defendants. Defendants maintain that the current packaging of

 the hatchet involved in Mr. Rasco’s injury is necessary to protect it during delivery and shipment

 as well as ensure safety for the consuming public in retail environments [Doc. 58 at 4-5].

 The availability of substitute products that can meet Defendants’ needs appears to weigh in favor

 of Plaintiffs. Defendants already utilize one of the alternative designs Plaintiffs posit for one of

 Defendants’ own hatchets. On this record, it is unclear who the final factor supports. Defendants

 could minimize the danger by adding a blade cover and instructions on how to open sealed

 clamshell packaging. But a user could conceivably take additional steps and exercise further care

 to avoid the dangers of a known sharp product that befell Mr. Rasco. And it is unclear how feasible

 spreading the loss is. Resolution of these questions is appropriately left to the jury.

        As to the third element of the prima facie case, in any “[p]roduct[s] liability action,” the

 TPLA requires a plaintiff’s injury to be “caused by or result[] from” a product’s “manufacture,”

 “design,” or “warning.” See Tenn. Code. Ann. § 29-28-102(6). A plaintiff must generally “show

 that the product manufactured and sold by the defendant caused the injuries he alleges.”

 See Strayhorn, 737 F.3d at 404 (quotation marks omitted). Tennessee provides a “three-pronged

 test for proximate cause:” (1) a defendant’s conduct “must have been a ‘substantial factor’ in

 bringing about the harm complained of;” (2) “there is no rule of policy that should relieve a



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wrongdoer;” and (3) “the harm giving rise to the action could have reasonably been foreseen or

anticipated by a person of ordinary intelligence and prudence.” See Jackson v. Ford Motor Co.,

842 F.3d 902, 908 (6th Cir. 2016) (citing Haynes v. Hamilton Cnty., 883 S.W.2d 606, 611-

12 (Tenn. 1994)). Proximate cause is “ordinarily [a] jury question[], unless the uncontroverted

facts and inferences to be drawn from them make it so clear that all reasonable persons must agree

on the proper outcome.” See id. (quoting Haynes, 883 S.W.2d at 612).

       Here too, a genuine dispute of material fact exits. Plaintiffs identified three alleged defects

in the hatchet packaging. The hatchet hit Mr. Rasco “in the arm,” leading to his injury, when he

began “pulling the hatchet out of the package” [Doc. 55-3 at 11-12 (B. Rasco Dep. 61:19-

62:2)]. Plaintiffs’ expert testified that if Defendants placed “plastic or rubber” “on the [hatchet]

blade,” “the incident . . . would have been less likely to have cut” Mr. Rasco [Doc. 55-1 at 13

(Phares Dep. 85:16-18)]. This evidence would permit a jury to conclude that an alleged defect in

the hatchet packaging was a “substantial factor” in Mr. Rasco’s injury. See Jackson, 842 F.3d at

908. No Party identified any rule or public policy in Tennessee that would absolve Defendants of

liability in this circumstance. And Plaintiffs have introduced some evidence that Defendants could

have foreseen or anticipated that a consumer “would attempt to open” the hatchet “in a variety of

different ways,” given the lack of opening instructions [Doc. 55-2 at 5 (Hall Dep. 21:5-10)].

       At bottom, “the facts and inferences” do not, “make it so clear” that Defendants are entitled

to judgment as a matter of law. See Jackson, 842 F.3d at 908 (citation omitted). Defendants argue

that Mr. Rasco’s “inability to recall specific details concerning” how he removed the hatchet from

the packaging “undermines his ability to provide reliable testimony concerning his use, handling,

and/or operation of the hatchet” [Doc. 49 at 8]. But Mr. Rasco testified to certain limited facts that




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he could remember, and the Court does not make “credibility determinations” at summary

judgment. See Smith, 13 F.4th at 514.

   IV.      Conclusion

         Accordingly, the Court DENIES Defendants’ “Motion for Summary Judgment” [Doc. 48].

         SO ORDERED.



                                              KATHERINE A. C    CRYTZER
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